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                                                       United States District Court
                                                       Central District of California
                                                                 * AMENDED
 UNITED STATES OF AMERICA vs.                                               Docket No.            CR13-484-CAS                    ENTER

 Defendant      CLAUDIA GARCIA                                              Social Security No. 6        7    8    9
       Rico, Caludia Gabriela;
       Giggles;                                                             (Last 4 digits)
 akas: Garcia, Claudia Gabriela Rangel

                                          JUDGMENT AND PROBATION/COMMITMENT ORDER

                                                                                                                   MONTH    DAY   YEAR
              In the presence of the attorney for the government, the defendant appeared in person on this date.       03   09     2015

  COUNSEL                                                            James Bisnow, appointed
                                                                           (Name of Counsel)

     PLEA          X GUILTY, and the court being satisfied that there is a factual basis for the plea.          NOLO               NOT
                                                                                                             CONTENDERE           GUILTY
  FINDING  There being a finding/verdict of GUILTY, defendant has been convicted as charged of the offense(s) of:
           Conspiracy to possess with intent to distribute and to distribute marijuana 21 U.S.C. § 846, 21 U.S.C. 841(b)(1)(C), as charged
          in Count 1 of the 6-Count Indictment
JUDGMENT The Court asked whether there was any reason why judgment should not be pronounced. Because no sufficient cause to the
AND PROB/ contrary was shown, or appeared to the Court, the Court adjudged the defendant guilty as charged and convicted and ordered that:
  COMM    Pursuant to the Sentencing Reform Act of 1984, it is the judgment of the Court that the defendant is hereby committed on Count
  ORDER   1 of the 6-Count Indictment to the custody of the Bureau of Prisons to be imprisoned for a term of: EIGHTEEN (18) MONTHS.

It is ordered that the defendant shall pay to the United States a special assessment of $100, which is due
immediately. Any unpaid balance shall be due during the period of imprisonment, at the rate of not less
than $25 per quarter, and pursuant to the Bureau of Prisons' Inmate Financial Responsibility Program.

Pursuant to Guideline § 5E1.2(a), all fines are waived as the Court finds that the defendant has established
that she is unable to pay and is not likely to become able to pay any fine.

Upon release from imprisonment, the defendant shall be placed on supervised release for a term of
three years under the following terms and conditions:

         1.         The defendant shall comply with the rules and regulations of the United States Probation
                    Office and General Order 05-02.

         2.          The defendant shall not commit any violation of local, state, or federal law or ordinance.

         3.         The defendant shall refrain from any unlawful use of a controlled substance. The
                    defendant shall submit to one drug test within 15 days of release from imprisonment and
                    at least two periodic drug tests thereafter, not to exceed eight tests per month, as directed
                    by the Probation Officer.
         4.         During the course of supervision, the Probation Officer, with the agreement of the
                    defendant and defense counsel, may place the defendant in a residential drug treatment
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                    program approved by the United States Probation Office for treatment of narcotic
                    addiction or drug dependency, which may include counseling and testing, to determine if
                    the defendant has reverted to the use of drugs, and the defendant shall reside in the
                    treatment program until discharged by the Program Director and Probation Officer.

         5.         As directed by the Probation Officer, the defendant shall pay all or part of the costs of
                    treating the defendant's drug and alcohol dependency to the aftercare contractor during
                    the period of community supervision, pursuant to 18 U.S.C. § 3672. The defendant shall
                    provide payment and proof of payment as directed by the Probation Officer.

         6.         During the period of community supervision, the defendant shall pay the special
                    assessment in accordance with this judgment's orders pertaining to such payment.

         7.         The defendant shall comply with the immigration rules and regulations of the United
                    States, and if deported from this country, either voluntarily or involuntarily, not reenter
                    the United States illegally. The defendant is not required to report to the Probation Office
                    while residing outside of the United States; however, within 72 hours of release from any
                    custody or any reentry to the United States during the period of Court-ordered
                    supervision, the defendant shall report for instructions to the United States Probation
                    Office located at: United States Court House, 312 North Spring Street, Room 600, Los
                    Angeles, California 90012.

         8.         The defendant shall not associate with anyone known to her to be a La Familia
                    Michocana, the Knights Templar, or the Magician’s Club gang member and others
                    known to her to be participants in the La Familia Michocana, the Knights Templar, or the
                    Magician’s Club gang’s criminal activities, with the exception of her family members.
                    She may not wear, display, use or possess any gang insignias, emblems, badges, buttons,
                    caps, hats, jackets, shoes, or any other clothing that defendant knows evidence affiliation
                    with the La Familia Michocana, the Knights Templar, or the Magician’s Club gangs, and
                    may not display any signs or gestures that defendant knows evidence affiliation with the
                    La Familia Michocana, the Knights Templar, or the Magician’s Club gangs.

         9.         As directed by the Probation Officer, the defendant shall not be present in any area
                    known to her to be a location where members of the La Familia Michocana, the Knights
                    Templar, or the Magician’s Club gangs meet and/or assemble.

         10.        The defendant shall cooperate in the collection of a DNA sample from the defendant.


The Court authorizes the Probation Office to disclose the Presentence Report to the substance abuse
treatment provider to facilitate the defendant's treatment for narcotic addiction or drug dependency.
Further redisclosure of the Presentence Report by the treatment provider is prohibited without the
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consent of the sentencing judge.

It is further ordered that the defendant surrender herself to the institution designated by the Bureau of
Prisons, on or before 12 noon, on May 26, 2015. In the absence of such designation, the defendant
shall report on or before the same date and time, to the United States Marshal located at: Roybal
Federal Building; 255 East Temple Street, Los Angeles, California 90012.

Defendant is informed of her right to appeal.

Bond is exonerated upon surrender.

The Court grants the Government’s request to dismiss the remaining counts of the Indictment.


 In addition to the special conditions of supervision imposed above, it is hereby ordered that the Standard Conditions of
 Probation and Supervised Release within this judgment be imposed. The Court may change the conditions of supervision,
 reduce or extend the period of supervision, and at any time during the supervision period or within the maximum period
 permitted by law, may issue a warrant and revoke supervision for a violation occurring during the supervision period.




            June 15, 2015
            Date                                                  U. S. District Judge/Magistrate Judge

 It is ordered that the Clerk deliver a copy of this Judgment and Probation/Commitment Order to the U.S. Marshal or other qualified officer.

                                                                  Clerk, U.S. District Court

            June 15, 2015                                   By            /S/
            Filed Date                                            C. Jeang, Deputy Clerk




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 The defendant shall comply with the standard conditions that have been adopted by this court (set forth below).

                               STANDARD CONDITIONS OF PROBATION AND SUPERVISED RELEASE

                               While the defendant is on probation or supervised release pursuant to this judgment:

 1.    The defendant shall not commit another Federal, state or local          10. the defendant shall not associate with any persons engaged in
       crime;                                                                      criminal activity, and shall not associate with any person
 2.    the defendant shall not leave the judicial district without the             convicted of a felony unless granted permission to do so by the
       written permission of the court or probation officer;                       probation officer;
 3.    the defendant shall report to the probation officer as directed by      11. the defendant shall permit a probation officer to visit him or her
       the court or probation officer and shall submit a truthful and              at any time at home or elsewhere and shall permit confiscation
       complete written report within the first five days of each                  of any contraband observed in plain view by the probation
       month;                                                                      officer;
 4.    the defendant shall answer truthfully all inquiries by the              12. the defendant shall notify the probation officer within 72 hours
       probation officer and follow the instructions of the probation              of being arrested or questioned by a law enforcement officer;
       officer;                                                                13. the defendant shall not enter into any agreement to act as an
 5.    the defendant shall support his or her dependents and meet                  informer or a special agent of a law enforcement agency
       other family responsibilities;                                              without the permission of the court;
 6.    the defendant shall work regularly at a lawful occupation unless        14. as directed by the probation officer, the defendant shall notify
       excused by the probation officer for schooling, training, or                third parties of risks that may be occasioned by the defendant’s
       other acceptable reasons;                                                   criminal record or personal history or characteristics, and shall
 7.    the defendant shall notify the probation officer at least 10 days           permit the probation officer to make such notifications and to
       prior to any change in residence or employment;                             conform the defendant’s compliance with such notification
 8.    the defendant shall refrain from excessive use of alcohol and               requirement;
       shall not purchase, possess, use, distribute, or administer any         15. the defendant shall, upon release from any period of custody,
       narcotic or other controlled substance, or any paraphernalia                report to the probation officer within 72 hours;
       related to such substances, except as prescribed by a physician;        16. and, for felony cases only: not possess a firearm, destructive
 9.    the defendant shall not frequent places where controlled                    device, or any other dangerous weapon.
       substances are illegally sold, used, distributed or administered;


       The defendant will also comply with the following special conditions pursuant to General Order 01-05 (set forth below).

           STATUTORY PROVISIONS PERTAINING TO PAYMENT AND COLLECTION OF FINANCIAL SANCTIONS

           The defendant shall pay interest on a fine or restitution of more than $2,500, unless the court waives interest or unless the fine or
 restitution is paid in full before the fifteenth (15th) day after the date of the judgment pursuant to 18 U.S.C. §3612(f)(1). Payments may be subject
 to penalties for default and delinquency pursuant to 18 U.S.C. §3612(g). Interest and penalties pertaining to restitution, however, are not
 applicable for offenses completed prior to April 24, 1996.

          If all or any portion of a fine or restitution ordered remains unpaid after the termination of supervision, the defendant shall pay the
 balance as directed by the United States Attorney’s Office. 18 U.S.C. §3613.

          The defendant shall notify the United States Attorney within thirty (30) days of any change in the defendant’s mailing address or
 residence until all fines, restitution, costs, and special assessments are paid in full. 18 U.S.C. §3612(b)(1)(F).

         The defendant shall notify the Court through the Probation Office, and notify the United States Attorney of any material change in the
 defendant’s economic circumstances that might affect the defendant’s ability to pay a fine or restitution, as required by 18 U.S.C. §3664(k). The
 Court may also accept such notification from the government or the victim, and may, on its own motion or that of a party or the victim, adjust
 the manner of payment of a fine or restitution-pursuant to 18 U.S.C. §3664(k). See also 18 U.S.C. §3572(d)(3) and for probation 18 U.S.C.
 §3563(a)(7).

           Payments shall be applied in the following order:

                     1. Special assessments pursuant to 18 U.S.C. §3013;
                     2. Restitution, in this sequence:
                               Private victims (individual and corporate),
                               Providers of compensation to private victims,
                               The United States as victim;
                     3. Fine;
                     4. Community restitution, pursuant to 18 U.S.C. §3663(c); and
                     5. Other penalties and costs.



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                              SPECIAL CONDITIONS FOR PROBATION AND SUPERVISED RELEASE

          As directed by the Probation Officer, the defendant shall provide to the Probation Officer: (1) a signed release authorizing credit report
 inquiries; (2) federal and state income tax returns or a signed release authorizing their disclosure; and (3) an accurate financial statement, with
 supporting documentation as to all assets, income and expenses of the defendant. In addition, the defendant shall not apply for any loan or open
 any line of credit without prior approval of the Probation Officer.

           The defendant shall maintain one personal checking account. All of defendant’s income, “monetary gains,” or other pecuniary proceeds
 shall be deposited into this account, which shall be used for payment of all personal expenses. Records of all other bank accounts, including any
 business accounts, shall be disclosed to the Probation Officer upon request.

         The defendant shall not transfer, sell, give away, or otherwise convey any asset with a fair market value in excess of $500 without
 approval of the Probation Officer until all financial obligations imposed by the Court have been satisfied in full.

                               These conditions are in addition to any other conditions imposed by this judgment.




                                                                     RETURN

 I have executed the within Judgment and Commitment as follows:
 Defendant delivered on                                                                      to
 Defendant noted on appeal on
 Defendant released on
 Mandate issued on
 Defendant’s appeal determined on
 Defendant delivered on                                                                    to
     at
     the institution designated by the Bureau of Prisons, with a certified copy of the within Judgment and Commitment.

                                                                     United States Marshal


                                                               By
            Date                                                     Deputy Marshal




                                                                 CERTIFICATE

 I hereby attest and certify this date that the foregoing document is a full, true and correct copy of the original on file in my office, and in my
 legal custody.

                                                                     Clerk, U.S. District Court


                                                               By
            Filed Date                                               Deputy Clerk




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                                                FOR U.S. PROBATION OFFICE USE ONLY


Upon a finding of violation of probation or supervised release, I understand that the court may (1) revoke supervision, (2) extend the term of
supervision, and/or (3) modify the conditions of supervision.

         These conditions have been read to me. I fully understand the conditions and have been provided a copy of them.


         (Signed)
                    Defendant                                                     Date




                    U. S. Probation Officer/Designated Witness                    Date




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